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         CIGNA HEALTH AND LIFE INSURANCE COMPANY, CONNECTICUT
     9   GENERAL LIFE INSURANCE COMPANY, and CIGNA HEALTHCARE OF
    10
         CALIFORNIA, INC.

    11
                             UNITED STATES DISTRICT COURT
    12
                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
    13
         NAMDY CONSULTING, INC.,                   Case No. 2:16:cv-02299-RGK-MRW
    14

    15
                             Plaintiff,
                                                   ANSWER TO SECOND AMENDED
    16   vs.                                       COMPLAINT
    17
         CIGNA HEALTH AND LIFE
    18   INSURANCE COMPANY., a
    19   California Corporation, and DOES 1
         through 20, inclusive,
    20

    21                       Defendants.           Complaint Filed: 02/17/16

    22

    23

    24

    25         COME NOW defendants CIGNA HEALTH AND LIFE INSURANCE

    26   COMPANY, CONNECTICUT GENERAL LIFE INSURANCE COMPANY,

    27   and CIGNA HEALTHCARE OF CALIFORNIA (together, “defendants”) for

    28

                                               1
                                              ANSWER TO SECOND AMENDED COMPLAINT
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     1   themselves and no other defendants hereby answers the Second Amended
     2   Complaint of plaintiff NAMDY CONSULTING, INC. as follows:
     3
                     RESPONDING TO ALLEGATIONS IN COMPLAINT
     4

     5         1.     In response to paragraph 1 of the Second Amended Complaint,
     6   defendants are without sufficient knowledge or information to form a belief as to
     7   the truth of the allegations in paragraph 1.
     8         2.     In response to paragraph 2 of the Second Amended Complaint,
     9   defendants are without sufficient knowledge or information to form a belief as to
    10   the truth of the allegations in paragraph 2.
    11         3.     In response to paragraph 3 of the Second Amended Complaint,
    12   defendants are without sufficient knowledge or information to form a belief as to
    13   the truth of the allegations in paragraph 3.
    14         4.     In response to paragraph 4 of the Second Amended Complaint,
    15   defendants admit that Cigna Health and Life Insurance Company is a Connecticut
    16   corporation. Defendants further admit that claims were made for medical care
    17   provided by J.S.E. Emergency Medical Group, Inc. (“JSE”) to some patients who
    18   were enrolled in benefit plans for which Cigna Health and Life Insurance
    19   Company or one of the other defendants provided administrative services during
    20   the alleged time period. Defendants deny that all patients identified in the
    21   attached Exhibits were enrolled in benefit plans administered by the defendants.
    22   Defendants are without sufficient knowledge or information to form a belief as to
    23   the truth of the remaining allegations in paragraph 4.
    24         5.     In response to the allegations in paragraph 5 of the Second Amended
    25   Complaint, defendants deny that they are in a better position than plaintiff and its
    26   alleged assignor, JSE, to know exactly which alleged members received treatment
    27   from JSE. Defendants are without sufficient knowledge or information to form a
    28   belief as to the truth of the remaining allegations in paragraph 5.

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     1         6.     Defendants admit that defendant Cigna Health and Life Insurance
     2   Company and Connecticut General Life Insurance Company are Connecticut
     3   corporations licensed to do business in California. Defendants admit that Cigna
     4   Healthcare of California is a California corporation licensed to do business in
     5   California. Defendants admit that, for a majority of patients whose claims are at
     6   issue in this litigation, defendants do not act as insurers, but provide
     7   administrative services to health plans. Defendants are without sufficient
     8   knowledge or information to form a belief as to the truth of the remaining
     9   allegations in paragraph 6.
    10         7.     In response to paragraph 7 of the Second Amended Complaint,
    11   defendants are without sufficient knowledge or information to form a belief as to
    12   the truth of the allegations in paragraph 7.
    13         8.     In response to paragraph 8 of the Second Amended Complaint,
    14   defendants deny the allegations.
    15         9.     In response to the second paragraph 8 of the Second Amended
    16   Complaint, defendants deny that they failed to pay all amounts due for medical
    17   services allegedly provided by JSE. Defendants further deny that the patients
    18   whose claims are at issue in this litigation were all “insureds, members,
    19   policyholders, certificate-holders, or were otherwise covered for health,
    20   hospitalization, pharmaceutical expenses, and major medical insurance issued and
    21   underwritten by defendant.”
    22         10.    In response to paragraph 9 of the Second Amended Complaint,
    23   defendants are without sufficient knowledge to form a belief as to the truth of the
    24   allegations in paragraph 9.
    25         11.     In response to paragraph 10 of the Second Amended Complaint,
    26   defendants deny that each of the patients identified by plaintiff is insured by
    27   insurance policies issued and underwritten by the defendants. Defendants further
    28   deny that all of the patients identified entered into insurance contracts with

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     1   defendants. Defendants are without sufficient knowledge or information to form
     2   a belief as to the truth of the remaining allegations in paragraph 10.
     3         12.    In response to paragraph 11 of the Second Amended Complaint,
     4   defendants do not receive direct payment of premiums from patients covered
     5   under group plans and therefore deny that they are currently receiving premiums
     6   from all patients identified by the plaintiff. Defendants are without sufficient
     7   knowledge or information to form a belief as to the truth of the remaining
     8   allegations in paragraph 11.
     9         13.    In response to paragraph 12 of the Second Amended Complaint,
    10   defendants are without sufficient knowledge or information to form a belief as to
    11   the truth of the allegations in paragraph 12.
    12         14.    In response to paragraph 13 of the Second Amended Complaint,
    13   defendants are without sufficient knowledge or information to form a belief as to
    14   the truth of the allegations in paragraph 13.
    15         15.    In response to paragraph 14 of the Second Amended Complaint,
    16   defendants are without sufficient knowledge or information to form a belief as to
    17   the truth of the allegations in paragraph 14.
    18         16.    In response to paragraph 15 of the Second Amended Complaint,
    19   defendants are without sufficient knowledge or information to form a belief as to
    20   the truth of the allegations in paragraph 15.
    21         17.    In response to paragraph 16 of the Second Amended Complaint,
    22   defendants deny each and every allegation therein.
    23         18.    In response to paragraph 17 of the Second Amended Complaint,
    24   defendants are without sufficient knowledge or information to form a belief as to
    25   the truth of the allegations in paragraph 17.
    26         19.    In response to paragraph 18 of the Second Amended Complaint,
    27   defendants deny each and every allegation therein.
    28

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                                                ANSWER TO SECOND AMENDED COMPLAINT
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     1         20.    In response to paragraph 19 of the Second Amended Complaint,
     2   defendants admit that payments were made on claims for services allegedly
     3   provided by JSE to patients enrolled in health plans administered by one of the
     4   defendants. Defendants are without sufficient knowledge or information to form
     5   a belief as to the truth of the remaining allegations in paragraph 19.
     6         21.    In response to paragraph 20 of the Second Amended Complaint,
     7   defendants admit that JSE submitted bills requesting payment for services
     8   provided to patients identified in the Second Amended Complaint. Defendants
     9   are without sufficient knowledge or information to form a belief as to the truth of
    10   the remaining allegations in paragraph 20.
    11         22.    In response to paragraph 21 of the Second Amended Complaint,
    12   defendants deny having been provided with all medical records pertaining to care
    13   allegedly provided by JSE. Defendants are without sufficient knowledge or
    14   information to form a belief as to the truth of the remaining allegations in
    15   paragraph 21.
    16         23.    In response to paragraph 22 of the Second Amended Complaint,
    17   defendants are without sufficient knowledge or information to form a belief as to
    18   the truth of the allegations in paragraph 22.
    19         24.    In response to paragraph 23 of the Second Amended Complaint,
    20   defendants deny each and every allegation therein.
    21         25.    In response to paragraph 24 of the Second Amended Complaint,
    22   defendants admit that payments were made on claims submitted related to care
    23   provided by JSE and deny that any further amounts are owed. Defendants are
    24   without sufficient knowledge or information to form a belief as to the truth of the
    25   remaining allegations in paragraph 24.
    26         26.    In response to the allegations in paragraph 25 of the Second
    27   Amended Complaint, defendants deny each and every allegation therein.
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                                                ANSWER TO SECOND AMENDED COMPLAINT
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     1         27.    In response to the allegations in paragraph 26 of the Second
     2   Amended Complaint, defendants deny each and every allegation therein.
     3         28.    In response to the allegations in paragraph 27 of the Second
     4   Amended Complaint, defendants deny each and every allegation therein.
     5         29.    In response to paragraph 28 of the Second Amended Complaint, the
     6   allegations are a legal conclusion to which no response is required.
     7         30.    In response to the allegations in paragraph 29 of the Second
     8   Amended Complaint, defendant does not dispute the language contained in 28
     9   Cal. Code Regs. Section 1300.71(a)(3)(B). Defendants deny all remaining
    10   allegations contained in paragraph 29.
    11         31.    In response to the allegations in paragraph 30 of the Second
    12   Amended Complaint, defendants deny that charges by JSE were all at reasonable
    13   and customary rates. Defendants are without sufficient knowledge or information
    14   to form a belief as to the truth of the remaining allegations in paragraph 30.
    15         32.    In response to the allegations in paragraph 31 of the Second
    16   Amended Complaint, defendants deny each and every allegation therein.
    17         33.    In response to the allegations in paragraph 32 of the Second
    18   Amended Complaint, defendants deny that they have manipulated data, deny that
    19   they have engaged in any acts to violate California law, deny that any databases
    20   or systems used for making payment of claims, if any, are flawed, and deny that
    21   they engaged in any acts of collusion. Defendants are without sufficient
    22   knowledge or information to form a belief as to the truth of the remaining
    23   allegations in paragraph 32.
    24         34.    In response to the allegations in paragraph 33, including its various
    25   subparts, of the Second Amended Complaint, defendants deny each and every
    26   allegation therein.
    27

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                                                  ANSWER TO SECOND AMENDED COMPLAINT
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     1         35.    In response to the allegations in paragraph 34, including its various
     2   subparts, of the Second Amended Complaint, defendants deny each and every
     3   allegation therein.
     4         36.    In response to the allegations in paragraph 35, including its various
     5   subparts, of the Second Amended Complaint, defendants deny each and every
     6   allegation therein.
     7         37.    In response to the allegations in paragraph 36, including its various
     8   subparts, of the Second Amended Complaint, defendants deny each and every
     9   allegation therein.
    10         38.    In response to the allegations in paragraph 37, including its various
    11   subparts, of the Second Amended Complaint, defendants deny each and every
    12   allegation therein.
    13         39.    In response to the allegations in paragraph 38, including its various
    14   subparts, of the Second Amended Complaint, defendants deny each and every
    15   allegation therein.
    16         40.    In response to the allegations in paragraph 39, including its various
    17   subparts, of the Second Amended Complaint, defendants deny each and every
    18   allegation therein.
    19         41.    In response to paragraph 40 of the Second Amended Complaint, the
    20   defendants hereby incorporate and reassert all of the foregoing responses to
    21   allegations made in the Second Amended Complaint as though fully set forth
    22   herein.
    23         42.    In response to paragraph 41 of the Second Amended Complaint,
    24   defendants contend that the allegations in paragraph 41 are a legal conclusion to
    25   which no response is required. To the extent that a response is required,
    26   defendants are without sufficient knowledge or information to form a belief as to
    27   the truth of the allegations in paragraph 41.
    28

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                                                ANSWER TO SECOND AMENDED COMPLAINT
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     1         43.    In response to paragraph 42 of the Second Amended Complaint,
     2   defendants are without sufficient knowledge or information to form a belief as to
     3   JSE’s actions, duties or intent. Defendants deny the remaining allegations in
     4   paragraph 42.
     5         44.    In response to paragraph 43 of the Second Amended Complaint,
     6   defendants are without sufficient knowledge or information to form a belief as to
     7   JSE’s actions. Defendants deny the remaining allegations in paragraph 43.
     8         45.    In response to paragraph 44 of the Second Amended Complaint,
     9   defendants contend that the allegations in paragraph 44 are a legal conclusion to
    10   which no response is required. To the extent that a response is required,
    11   defendants are without sufficient knowledge or information to form a belief as to
    12   the truth of the allegations in paragraph 44.
    13         46.    The plaintiff’s Second Amended Complaint omits paragraphs 45-46.
    14   Defendants therefore provide no response to paragraphs 45 or 46 herein.
    15         47.    In response to the allegations in paragraph 47, including its various
    16   subparts, of the Second Amended Complaint, defendants deny each and every
    17   allegation therein.
    18         48.    In response to the allegations in paragraph 48, including its various
    19   subparts, of the Second Amended Complaint, defendants deny each and every
    20   allegation therein.
    21         49.    In response to paragraph 49 of the Second Amended Complaint,
    22   defendants are without sufficient knowledge or information to form a belief as to
    23   JSE’s actions. Defendants deny the remaining allegations in paragraph 49.
    24         50.    In response to the allegations in paragraph 50, defendants admit that
    25   JSE has made demands for payment for services allegedly provided to patients
    26   enrolled in health plans administered by defendants. Defendants are without
    27   sufficient knowledge or information to form a belief as to the truth of the
    28   remaining allegations in paragraph 50.

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     1         51.    In response to the allegations in paragraph 51, including its various
     2   subparts, of the Second Amended Complaint, defendants deny each and every
     3   allegation therein.
     4         52.    In response to paragraph 52 of the Second Amended Complaint, the
     5   defendants hereby incorporate and reassert all of the foregoing responses to
     6   allegations made in the Second Amended Complaint as though fully set forth
     7   herein.
     8         53.    In response to the allegations in paragraph 53 of the Second
     9   Amended Complaint, defendants are without sufficient knowledge or information
    10   to form a belief as to JSE’s actions. Defendants deny the remaining allegations in
    11   paragraph 53.
    12         54.    In response to the allegations in paragraph 54 of the Second
    13   Amended Complaint, defendants are without sufficient knowledge or information
    14   to form a belief as to JSE’s actions. Defendants deny the remaining allegations in
    15   paragraph 54.
    16         55.    In response to the allegations in paragraph 55 of the Second
    17   Amended Complaint, defendants are without sufficient knowledge or information
    18   to form a belief as to JSE’s actions. Defendants deny the remaining allegations in
    19   paragraph 55.
    20         56.    The plaintiff’s Second Amended Complaint omits paragraphs 56-58.
    21   Defendants therefore provide no response to paragraphs 45 or 46 herein.
    22         57.    In response to paragraph 59 of the Second Amended Complaint, the
    23   defendants hereby incorporate and reassert all of the foregoing responses to
    24   allegations made in the Second Amended Complaint as though fully set forth
    25   herein.
    26         58.    In response to the allegations in paragraph 60 of the Second
    27   Amended Complaint, defendants are without sufficient knowledge or information
    28

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     1   to form a belief as to JSE’s actions. Defendants deny the remaining allegations in
     2   paragraph 60.
     3         59.    In response to the allegations in paragraph 61 of the Second
     4   Amended Complaint, defendants are without sufficient knowledge or information
     5   to form a belief as to JSE’s actions. Defendants deny the remaining allegations in
     6   paragraph 61.
     7         60.    In response to paragraph 62 of the Second Amended Complaint,
     8   defendants contend that the allegations in paragraph 44 are a legal conclusion to
     9   which no response is required. To the extent that a response is required,
    10   defendants are without sufficient knowledge or information to form a belief as to
    11   the truth of the allegations in paragraph 62.
    12         61.    In response to the allegations in paragraph 63 of the Second
    13   Amended Complaint, defendants are without sufficient knowledge or information
    14   to form a belief as to JSE’s actions. Defendants deny the remaining allegations in
    15   paragraph 63.
    16         62.    In response to the allegations in paragraph 64 of the Second
    17   Amended Complaint, defendants are without sufficient knowledge or information
    18   to form a belief as to JSE’s actions. Defendants deny the remaining allegations in
    19   paragraph 64.
    20         63.    In response to the allegations in paragraph 65 of the Second
    21   Amended Complaint, defendants are without sufficient knowledge or information
    22   to form a belief as to JSE’s actions. Defendants deny the remaining allegations in
    23   paragraph 65.
    24         64.    In response to paragraph 66 of the Second Amended Complaint, the
    25   defendants hereby incorporate and reassert all of the foregoing responses to
    26   allegations made in the Second Amended Complaint as though fully set forth
    27   herein.
    28

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     1         65.    In response to the allegations in paragraph 67, including its various
     2   subparts, of the Second Amended Complaint, defendants deny each and every
     3   allegation therein.
     4         66.    In response to the allegations in paragraph 68, including its various
     5   subparts, of the Second Amended Complaint, defendants deny each and every
     6   allegation therein.
     7         67.    In response to the allegations in paragraph 69, including its various
     8   subparts, of the Second Amended Complaint, defendants deny each and every
     9   allegation therein.
    10         68.    In response to the allegations in paragraph 70 of the Second
    11   Amended Complaint, defendants are without sufficient knowledge or information
    12   to form a belief as to JSE’s actions. Defendants deny the remaining allegations in
    13   paragraph 70.
    14         69.    In response to the allegations in paragraph 71, including its various
    15   subparts, of the Second Amended Complaint, defendants deny each and every
    16   allegation therein.
    17         70.    In response to the allegations in paragraph 72 of the Second
    18   Amended Complaint, defendants are without sufficient knowledge or information
    19   to form a belief as to JSE’s actions. Defendants deny the remaining allegations in
    20   paragraph 72.
    21         71.    In response to the allegations in paragraph 73, including its various
    22   subparts, of the Second Amended Complaint, defendants deny each and every
    23   allegation therein.
    24         72.    In response to the allegations in the second paragraph numbered 73
    25   of the Second Amended Complaint, the defendants hereby incorporate and
    26   reassert all of the foregoing responses to allegations made in the Second
    27   Amended Complaint as though fully set forth herein.
    28

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     1         73.    In response to the allegations in paragraph 74 of the Second
     2   Amended Complaint, defendants are without sufficient knowledge or information
     3   to form a belief as to JSE’s actions. Defendants deny the remaining allegations in
     4   paragraph 74.
     5         74.    In response to the allegations in paragraph 75, including its various
     6   subparts, of the Second Amended Complaint, defendants deny each and every
     7   allegation therein.
     8         75.    In response to the allegations in paragraph 76, including its various
     9   subparts, of the Second Amended Complaint, defendants deny each and every
    10   allegation therein.
    11         76.    In response to paragraph 77 of the Second Amended Complaint, the
    12   defendants hereby incorporate and reassert all of the foregoing responses to
    13   allegations made in the Second Amended Complaint as though fully set forth
    14   herein.
    15         77.    In response to the allegations in paragraph 78, including its various
    16   subparts, of the Second Amended Complaint, defendants deny each and every
    17   allegation therein.
    18         78.    In response to the allegations in paragraph 79 of the Second
    19   Amended Complaint, defendants are without sufficient knowledge or information
    20   to form a belief as to JSE’s actions. Defendants deny the remaining allegations in
    21   paragraph 79.
    22         79.    In response to the allegations in paragraph 80 of the Second
    23   Amended Complaint, defendants are without sufficient knowledge or information
    24   to form a belief as to JSE’s actions. Defendants deny the remaining allegations in
    25   paragraph 80.
    26         80.    In response to the allegations in paragraph 81 of the Second
    27   Amended Complaint, defendants are without sufficient knowledge or information
    28

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     1   to form a belief as to JSE’s actions. Defendants deny the remaining allegations in
     2   paragraph 81.
     3         81.    In response to the allegations in paragraph 82 of the Second
     4   Amended Complaint, defendants are without sufficient knowledge or information
     5   to form a belief as to JSE’s actions or legal status. Defendants deny the
     6   remaining allegations in paragraph 82.
     7         82.    In response to the allegations in paragraph 83 of the Second
     8   Amended Complaint, defendants are without sufficient knowledge or information
     9   to form a belief as to JSE’s actions. Defendants deny the remaining allegations in
    10   paragraph 83.
    11         83.    In response to the allegations in paragraph 84 of the Second
    12   Amended Complaint, defendants are without sufficient knowledge or information
    13   to form a belief as to JSE’s actions. Defendants deny the remaining allegations in
    14   paragraph 84.
    15         84.    In response to paragraph 85 of the Second Amended Complaint, the
    16   defendants hereby incorporate and reassert all of the foregoing responses to
    17   allegations made in the Second Amended Complaint as though fully set forth
    18   herein.
    19         85.    In response to the allegations in paragraph 86 of the Second
    20   Amended Complaint, defendants are without sufficient knowledge or information
    21   to form a belief as to the truth of the allegations in paragraph 86.
    22         86.    In response to the allegations in paragraph 87 of the Second
    23   Amended Complaint, defendants deny each and every allegation therein.
    24         87.    In response to the allegations in paragraph 88 of the Second
    25   Amended Complaint, defendants deny each and every allegation therein.
    26         88.    In response to the allegations in paragraph 89 of the Second
    27   Amended Complaint, defendants deny each and every allegation therein.
    28

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                                                 ANSWER TO SECOND AMENDED COMPLAINT
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     1         89.    In response to the allegations in paragraph 90 of the Second
     2   Amended Complaint, defendants deny each and every allegation therein.
     3         90.    In response to the allegations in paragraph 91 of the Second
     4   Amended Complaint, defendants deny each and every allegation therein.
     5

     6                             AFFIRMATIVE DEFENSES
     7
                                FIRST AFFIRMATIVE DEFENSE
     8
                                 (Failure to State a Cause of Action)
     9
               1.     Plaintiff’s complaint fails to state facts sufficient to constitute a
    10
         cause of action against these answering defendants.
    11

    12
                              SECOND AFFIRMATIVE DEFENSE
    13
                                        (Statute of Limitations)
    14
               2.     Plaintiff’s complaint is barred by the applicable statutes of
    15
         limitations including, but not limited to, Code of Civil Procedure sections 337,
    16
         338, 339, and 343.
    17

    18
                               THIRD AFFIRMATIVE DEFENSE
    19
                                             (Preemption)
    20
               3.     The claims encompassed by plaintiff’s complaint are preempted by
    21
         federal law, including, but not limited to, the Employee Retirement Income
    22
         Security Act of 1974 (“ERISA”), 29 U.S.C. §1001, et seq.
    23

    24
                              FOURTH AFFIRMATIVE DEFENSE
    25
                                         (Assumption of Risk)
    26
               4.     That at all times herein mentioned, plaintiff knew, or should have
    27
         known, that plaintiff was rendering medical services for which it would not
    28
         receive any, partial, or full payment. By rendering such medical services,
                                                   14
                                                 ANSWER TO SECOND AMENDED COMPLAINT
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     1   plaintiff freely, voluntarily, and expressly assumed all risks attendant thereto,
     2   thereby barring and/or reducing plaintiff’s recovery herein.
     3

     4                          FIFTH AFFIRMATIVE DEFENSE
     5                                        (Consent)
     6          5.    Plaintiff gave express written, oral, and/or implied consent to accept
     7   the amounts paid by these answering defendants as payment in full for the
     8   medical services rendered.
     9

    10                         SIXTH AFFIRMATIVE DEFENSE
    11                                       (Indemnity)
    12          6.    These answering defendants contend that there is no basis for
    13   liability to plaintiff. Should these answering defendants be found liable to
    14   plaintiff on the complaint herein, these answering defendants should, in whole or
    15   in part, be indemnified by other parties who are liable in whole or in part to
    16   plaintiff.
    17

    18                       SEVENTH AFFIRMATIVE DEFENSE
    19                                       (Reduction)
    20          7.    These answering defendants are entitled to an offset and/or
    21   reduction, and plaintiff is barred from recovering from these answering
    22   defendants, any and all amounts paid for plaintiff’s alleged damages by way of
    23   settlement or judgment of any claim, incident or lawsuit which may have
    24   contributed to the damages referred to in the complaint.
    25

    26                        EIGHTH AFFIRMATIVE DEFENSE
    27                                   (Equitable Estoppel)
    28          8.    Plaintiff’s claims are barred by virtue of equitable estoppel.

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     1                         NINTH AFFIRMATIVE DEFENSE
     2                       (Release, Collateral Estoppel, Res Judicata)
     3
               9.     Plaintiff’s claims are barred by virtue of settlement, release,
     4
         collateral estoppel and/or res judicata.
     5

     6
                               TENTH AFFIRMATIVE DEFENSE
     7
                                  (Unclean Hands, Waiver, Laches)
     8
               10.    Plaintiff’s claims are barred by the doctrines of unclean hands,
     9
         waiver, laches, and estoppel.
    10

    11
                            ELEVENTH AFFIRMATIVE DEFENSE
    12
                                    (Failure to Mitigate Damages)
    13
               11.    Plaintiff has failed to exercise reasonable care and diligence to avoid
    14
         loss and to minimize damages and, therefore, plaintiff may not recover for losses
    15
         which could have been prevented by reasonable efforts on his own part, or by
    16
         expenditures that might reasonably have been made. Therefore, plaintiff’s
    17
         recovery, if any, should be reduced by the failure of plaintiff to mitigate its
    18
         claimed damages.
    19

    20
                             TWELFTH AFFIRMATIVE DEFENSE
    21
                            (Failure to Exhaust Administrative Remedies)
    22
               12.    Plaintiff failed to exhaust all administrative remedies under the law
    23
         before commencing suit.
    24
         ///
    25
         ///
    26
         ///
    27
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     1                     THIRTEENTH AFFIRMATIVE DEFENSE
     2                                 (Accord and Satisfaction)
     3          13.    Plaintiff’s claims are barred because these answering defendants
     4   paid, and plaintiff accepted, a mutually agreed upon certain amount in full
     5   satisfaction and discharge of the causes of action set forth in the complaint.
     6

     7                     FOURTEENTH AFFIRMATIVE DEFENSE
     8                                (Contract-Related Failures)
     9          14.    Plaintiff’s claims are barred because by virtue of the failure of
    10   consideration, failure of a condition precedent, and/or failure of plaintiff to
    11   perform acts which constituted consideration and material conditions precedent to
    12   Defendants’ performance of obligations to Plaintiff.
    13

    14                       FIFTEENTH AFFIRMATIVE DEFENSE
    15                                         (Indemnity)
    16          15.    This answering defendant contends that there is no basis for liability
    17   to plaintiff. Should defendant be found liable to plaintiff on the complaint herein,
    18   defendant should be indemnified in whole or in part by others who are not parties
    19   to this litigation who are liable in whole or in part to plaintiff.
    20

    21                       SIXTEENTH AFFIRMATIVE DEFENSE
    22                                     (Statute of Frauds)
    23          16.    Plaintiff’s claims are barred by the statute of frauds.
    24

    25                    SEVENTEENTH AFFIRMATIVE DEFENSE
    26                                     (Lack of Standing)
    27          17.    Plaintiff lacks standing to bring this action as under ERISA, 29
    28   U.S.C. § 1132.

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     1                      EIGHTEENTH AFFIRMATIVE DEFENSE
     2                                  (No Abuse of Discretion)
     3         18.     Plaintiff’s claims are barred because there has been no abuse of
     4   discretion by the plan administrators for the benefit plans at issue.
     5

     6                      NINTEENETH AFFIRMATIVE DEFENSE
     7                                      (No Assignment)
     8         19.     Plaintiff’s claims are barred because the members of the employee
     9   benefit plans did not assign their benefits to plaintiff, any such assignment was
    10   invalid or enforceable, the plans prohibit any such assignment, and/or these
    11   answering defendants did not consent to any such assignment.
    12

    13                      TWENTIETH AFFIRMATIVE DEFENSE
    14                              (Additional Affirmative Defenses)
    15         20.     These answering defendants presently have insufficient knowledge
    16   or information on which to form a belief as to whether it may have additional, as
    17   yet unstated, defenses available. These answering defendants reserve herein the
    18   right to assert additional affirmative defenses in the event discovery indicates that
    19   they would be appropriate.
    20

    21                                         PRAYER
    22         WHEREFORE, defendants CIGNA HEALTH AND LIFE INSURANCE
    23   COMPANY, CONNECTICUT GENERAL LIFE INSURANCE COMPANY,
    24   and CIGNA HEALTHCARE OF CALIFORNIA respectfully pray for judgment
    25   as follows:
    26         1.      That judgment be entered in favor of Defendants and against
    27                 Plaintiff;
    28         2.      That Defendants recover the costs of suit incurred herein;

                                                   18
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     1        3.    That Defendants be awarded their attorney’s fees and expert witness
     2              fees to the extent provided by law; and
     3        4.    For such other and further relief as the court may deem just and
     4              proper.
     5

     6

     7   DATED: May 27, 2016                                  COLE PEDROZA LLP
     8
                                              By__________/s/_________________
     9                                            Dana L. Stenvick
                                              Attorneys for Defendant
    10                                        CIGNA HEALTH AND LIFE INSURANCE
    11                                        COMPANY

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     1                                CERTIFICATE OF SERVICE

     2   Case Name: Namdy v. Cigna Health and Life Insurance
     3   No. 2:16:cv-02299-RGK-MRW

     4
         I hereby certify that on May 27, 2016, I electronically filed the following documents
     5
         with the Clerk of the Court by using the CM/ECF system:
     6
                         ANSWER TO SECOND AMENDED COMPLAINT
     7
         I certify that all participants in the case are registered CM/ECF users and that service
     8
         will be accomplished by the CM/ECF system.
     9
         I declare under penalty of perjury under the laws of the State of California the foregoing
    10   is true and correct and that this declaration was executed on May 27, 2016, at San
    11   Marino, California.

    12

    13
               Cynthia Michelena                          /s/ Cynthia Michelena
         __________________________                    ______________________________
    14            Declarant                                         Signature
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                                                   ANSWER TO SECOND AMENDED COMPLAINT
